       Case 1:18-cv-05427-JSR Document 304 Filed 01/22/20 Page 1 of 6



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SIMO HOLDINGS INC.,

            Plaintiff,                     18-cv-5427   (JSR)

      -against-
                                           ORDER
 HONG KONG UCLOUDLINK NETWORK
 TECHNOLOGY LIMITED and                               USDCSDNY
 UCLOUDLINK (AMERICA), LTD.,                          DOCUMENT
                                                      ELECTRONICALLY FILFD            ,
           Defendants.                                    #: _ _- - 1 - - - 1 -   -   jl
                                                           PILED:                 ~


JED S. RAKOFF, U.S.D.J.

     On December 9, 2019, this Court issued what it believed to

be "the final in a series of post-judgment disputes between

plaintiff, SIMO Holdings Inc.     ("SIMO"), and defendants,

uCloudlink (America), Ltd. and Hong Kong uCloudlink Network

Technology Ltd.   (collectively "uCloudlink") ." Mem. Order at 1,

ECF No. 299. In that order, the Court modified its prior

injunction order to allow uCloudlink to sell a redesigned

version of its product. Id. SIMO now moves for reconsideration

of the December 9th order, hoping to reopen the dispute the

Court resolved. Because SIMO has not met the hign standard for

reconsideration, its motion is denied. Insofar as it is

necessary, however, the Court offers the clarification of the

order that SIMO seeks.




                                    1
       Case 1:18-cv-05427-JSR Document 304 Filed 01/22/20 Page 2 of 6



     The standard for granting a motion for reconsideration "is

strict, and reconsideration will generally be denied unless the

moving party can point to controlling decisions or data that the

court overlooked - matters, in other words, that might

reasonably be expected to alter the conclusion reached by the

court." Shrader v. CSX Transp. Inc., 70 F.3d 255, 257         (2d Cir.

1995). This strict standard is intended to "ensure the finality

of decisions and to prevent the practice of a losing party

examining a decision and then plugging the gaps of a lost motion

with additional matters." Carolco Pictures Inc. v. Sirota, 700

F. Supp. 169, 170 (S.D.N.Y. 1988). Accordingly, "[a] motion for

reconsideration should be granted only when the [moving party]

identifies an intervening change of controlling law, the

availability of new evidence, or the need to correct a clear

error or prevent manifest injustice." Kolel Beth Yechiel Mechil

of Tartikov, Inc. v. YLL Irrevocable Tr., 729 F.3d 99, 104 (2d

Cir. 2013).

     SIMO primarily argues that reconsideration is warranted

because SIMO was subjected to "manifest injustice" by the

Court's failure to allow it a "full and fair opportunity to

present its position." Mem. in Support of Pl. SIMO Holdings

Inc.'s Mot. for Reconsideration ("SIMO Mem.") at 3, ECF No. 301.

SIMO first claims it was deprived of such a fair opportunity to

be heard because it had no opportunity to respond to a rebuttal

                                    2
       Case 1:18-cv-05427-JSR Document 304 Filed 01/22/20 Page 3 of 6



report and opposition brief that uCloudlink submitted. See Os.

Responsive Br., ECF No. 298. In support of this argument, SIMO

points to a number of alleged flaws in uCloudlink's rebuttal

report and brief that "highlight[] the need for cross-

examination." Reply Br. in Support of Pl. SIMO Holdings Inc.'s

Mot. for Reconsideration at 5, ECF No. 303.

     This argument is unavailing. This Court provided SIMO two

separate opportunities to respond to uCloudlink's arguments

explaining why its devices were not infringing. 1 Specifically,

after SIMO failed to offer a "technical explanation" about why

the devices were infringing, as the Court ordered it to (ECF No.

282), the Court offered SIMO a second chance to do so (ECF No.

296). Although SIMO now complains it was not allowed to reply to

uCloudlink's opposition to this second brief, SIMO never sought

the opportunity to submit such a reply. Nor did SIMO move to

strike the rebuttal expert testimony it now clai~s was

improperly submitted. The Court's failure to sua sponte offer

SIMO a third opportunity to address uCloudlink's claims or

strike uCloudlink's expert testimony does not constitute a

"manifest injustice."




1 uCloudlink had asserted these arguments in substantially
similar form multiple times prior. See, e.g., uCloudlink Letter,
ECF No. 275; SIMO Mem. at 3-4 (explaining that uCloudlink raised
the same arguments about its redesign on multiple prior
occasions).
                                    3
       Case 1:18-cv-05427-JSR Document 304 Filed 01/22/20 Page 4 of 6



     SIMO next argues that it lacked a full and fair opportunity

to present its case because it was deprived of discovery it

needed to do so. Any such deprivation of discovery, however, was

a problem of SIMO's own making. On September 30, this Court

ordered the parties to jointly propose a schedule for briefing

and limited discovery on the question of whether the injunction

should be modified to allow uCloudlink to sell its redesigned

devices. ECF No. 273. SIMO, however, never proposed such a

discovery schedule. SIMO's lack of diligence in seeking the

additional discovery it now claims it needs similarly does not

demonstrate it has suffered a "manifest injustice" such that

reconsideration is warranted.

     In addition to its process-based arguments, SIMO argues

that reconsideration is warranted because the Court "overlooked

[its expert's] explanation as to why the data communication link

remains intact even if the devices change networks." SIMO Mem.

at 11. The Court, however, did not overlook these explanations;

it rejected them. SIMO's expert contended that because any data

communication link between a uCloudlink device and its back-end

server "persists as a TCP/IP link between these two endpoints

throughout the entirety of the login and authentication

process," uCloudlink's devices continue to infringe SIMO's

patent even when they switch their seed network to be compatible

with an available cloud SIM network. Deel. of Eric Welch, ECF

                                    4
       Case 1:18-cv-05427-JSR Document 304 Filed 01/22/20 Page 5 of 6



No. 297-2 ~ 44. The Court found that accepting this view would

require adopting an "implausible construction" of the patent by

defining "the data communication link" to include any previously

established link, even where it is not "capable of transmitting

data." Mem. Order at 4, ECF No. 299. Although SIMO may disagree

with the Court's conclusion, this is not a ground for

reconsideration. See Tho Dinh Tran v. Dinh Truong Tran, 166 F.

Supp. 2d 793, 798   (S.D.N.Y. 2001)     ("[A] motion for

reconsideration is not a motion to reargue those issues already

considered when a party does not like the way the original

motion was resolved." (internal quotation marks and citation

omitted)).

     The Court has considered SIMO's remaining arguments 2 and

finds that SIMO has failed to point to any facts or law that the

Court overlooked in issuing its order, or that it has suffered

any manifest injustice. Accordingly, SIMO's motion for

reconsideration is denied.

     The Court does, however, clarify that the determination

that plaintiff no longer meets its burden of showing that

uCloudlink's latest devices infringe plaintiff's patent is made



2 SIMO, for example, also argues that its interpretation of "the
data communication link" is subject to temporal limits because
TCP/IP links are eventually terminated. SIMO Mem. 13-14. Even
assuming such temporal limits exist, the Court remains
unpersuaded that "the data communication link" includes links
not capable of transmitting data.
                                    5
         Case 1:18-cv-05427-JSR Document 304 Filed 01/22/20 Page 6 of 6



in the context of the high standard that plaintiff has to meet

to warrant the "extraordinary" remedy of injunctive relief. The

Court in no way makes a definitive finding of non-infringement

for any other purpose.

     SO ORDERED.

Dated:      New York, NY

            January   {J_,   2020               JED S. RAKOFF, U.S.D.J.




                                       6
